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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No.: 15-CV-1195-RPM

SILVIA LOZOYA,
      Plaintiff,
v.

TONE, INC. d/b/a MI RANCHITO MEXICAN RESTAURANT,
MARIE TERRONES
WALTER TERRONES, and
TONY TERRONES,

     Defendants.
_____________________________________________________________________

             ORDER REGARDING STIPULATION FOR DISMISSAL
_____________________________________________________________________

       THIS MATTER comes before the Court on the parties’ Stipulation for Dismissal,

filed on March 22, 2016. The parties have joined this stipulation, which is self-

effectuating under F.R.C.P. 41(a)(1)(ii). Accordingly, it is ORDERED that this matter is

dismissed, and all claims which have been or could have been asserted in this action

are dismissed with prejudice, without an award of costs or fees in favor of any party.

The Clerk of the Court is directed to close the case.

       Dated this 22nd day of March, 2016.

                                   BY THE COURT:

                                   s/Richard P. Matsch

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                                   Richard P. Matsch, Senior District Judge
